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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Linda Beaupre                                            Attorney Fees
                                                       JUDGMENT IN A CIVIL CASE
                                Plaintiff,
         v.                                            Case Number: 2:18-cv-2032-BNW
Andrew Saul, Commissioner SSA


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED
that judgment is hereby entered for attorney fees in favor of Plaintiff in the amount of $3,064.40




         April 22, 2020
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ J. Matott
                                                             Deputy Clerk
